Case 6:24-cv-00437-JDK      Document 66    Filed 03/17/25   Page 1 of 15 PageID #: 521




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


  STATE OF TEXAS, et al.,

                             Plaintiffs,

  v.                                          CIVIL ACTION NO. 6:24-cv-00437-JDK

  BLACKROCK, INC.,                              ORAL ARGUMENT REQUESTED
  STATE STREET CORPORATION,
  THE VANGUARD GROUP, INC.,

                             Defendants.



       DEFENDANT THE VANGUARD GROUP, INC.’S MEMORANDUM OF LAW IN
         FURTHER SUPPORT OF DEFENDANTS’ JOINT MOTION TO DISMISS
Case 6:24-cv-00437-JDK                        Document 66                 Filed 03/17/25               Page 2 of 15 PageID #: 522




                                                      TABLE OF CONTENTS

 Introduction ..................................................................................................................................... 1

 Argument ........................................................................................................................................ 1

 I.         Plaintiffs Fail To Plead Facts Connecting Vanguard To The Alleged Conspiracy. ............. 1

            A.         The Complaint pleads facts inconsistent with Vanguard’s participation in
                       the alleged conspiracy. ............................................................................................ 2

            B.         Plaintiffs’ remaining allegations do not salvage their claim against
                       Vanguard. ................................................................................................................ 5

 II.        Plaintiffs Fail To State A Claim Against Vanguard Under Clayton Act § 7. ....................... 8

 III.       The Complaint Fails to Allege Any Other Viable Claim Against Vanguard ....................... 9

 Conclusion ...................................................................................................................................... 9




                                                                          i
Case 6:24-cv-00437-JDK                     Document 66               Filed 03/17/25              Page 3 of 15 PageID #: 523




                                                TABLE OF AUTHORITIES

                                                                                                                                Page(s)

 Cases

 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) ...................................................................................................................5

 Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007) .......................................................................................................4, 5, 6, 7

 Coleman v. Drake,
    409 F.3d 665 (5th Cir. 2005) .....................................................................................................3

 Collin v. Morgan Stanley Dean Witter,
    224 F.3d 496 (5th Cir. 2000) .....................................................................................................3

 Golden Bridge Tech., Inc. v. Motorola, Inc.,
    547 F.3d 266 (5th Cir. 2008) .....................................................................................................8

 Hyder v. Quarterman,
    2007 WL 4300446, (S.D. Tex. 2007) ........................................................................................3

 In re Int. Rate Swaps Antitrust Litig.,
     261 F. Supp. 3d 430 (S.D.N.Y. 2017)........................................................................................5

 Kitty Hawk Aircargo, Inc. v. Chao,
     418 F.3d 453 (5th Cir. 2005) .....................................................................................................3

 Malaney v. UAL Corp.,
    2010 WL 3790296 (N.D. Cal. 2010) .........................................................................................9

 Mosaic Health Inc. v. Sanofi-Aventis U.S. LLC,
   714 F. Supp. 3d 209 (W.D.N.Y. 2024) ......................................................................................2

 In re Online Travel Company (OTC) Hotel Booking Antitrust Litig.,
     997 F. Supp. 2d 526 (N.D. Tex. 2014) ..............................................................................2, 5, 6

 SD3, LLC v. Black & Decker (U.S.) Inc.,
    801 F.3d 412 (4th Cir. 2015) .................................................................................................1, 2

 In re Travel Agent Comm’n Antitrust Litig.,
     583 F.3d 896 (6th Cir. 2009) .....................................................................................................2

 United States v. Tracinda Inv. Corp.,
    477 F. Supp. 1093 (C.D. Cal. 1979) ..........................................................................................8




                                                                     ii
Case 6:24-cv-00437-JDK                       Document 66                Filed 03/17/25               Page 4 of 15 PageID #: 524




 Walker v. Collier,
    2018 WL 11463054 (E.D. Tex. 2018) .......................................................................................3

 Wiltfong v. California State Bd. of Acct.,
    2018 WL 935398 (W.D. Tex. 2018) ..........................................................................................1

 Statutes and Regulations

 15 U.S.C. § 18 ..............................................................................................................................8, 9

 17 C.F.R. § 229.105 .........................................................................................................................7




                                                                       iii
Case 6:24-cv-00437-JDK         Document 66        Filed 03/17/25      Page 5 of 15 PageID #: 525




                                        INTRODUCTION

        Plaintiffs have not pled facts sufficient to connect Vanguard to any of the alleged antitrust

 violations. Plaintiffs assert that three leading asset managers—Vanguard, BlackRock, and State

 Street—conspired in violation of Section 1 of the Sherman Act to “coerce [coal] companies to

 reduce their collective output of coal.” (AC ¶ 256.) Plaintiffs also assert that each Defendant

 violated Section 7 of the Clayton Act by using its alleged influence over coal companies to induce

 those companies to cut production. (Id. ¶¶ 65, 94, 251.) To sustain those claims as to Vanguard,

 Plaintiffs “must specify how [Vanguard] w[as] involved” in the alleged wrongdoing. Wiltfong v.

 California State Bd. of Acct., 2018 WL 935398, at *2 (W.D. Tex. 2018) (citation omitted). But far

 from specifying how Vanguard supposedly coerced or induced coal companies to cut production,

 the Complaint makes clear that Vanguard did no such thing. Across each of the core elements of

 the alleged “output reduction scheme” (AC ¶ 6), Vanguard’s conduct cannot be reconciled with the

 suggestion that it participated in any such scheme. For these reasons and the additional reasons

 set forth in Defendants’ joint motion to dismiss, Vanguard should be dismissed from this action.

                                STATEMENT OF THE ISSUES

        Whether the Complaint states a Sherman Act Section 1 claim, Clayton Act Section 7 claim,

 state-law antitrust claim, or Louisiana Unfair Trade Practices Act claim against Vanguard.

                                          ARGUMENT

 I.     Plaintiffs Fail To Plead Facts Connecting Vanguard To The Alleged Conspiracy.

        “[W]hen asserting an antitrust claim, a plaintiff ‘cannot assemble some collection of

 defendants and then make vague, non-specific allegations against all of them as a group.’”

 Wiltfong, 2018 WL 935398, at *2 (quoting SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412,

 422 (4th Cir. 2015)). “Instead, a complaint must specify how these defendants were involved” in

 the alleged conduct, ignoring “indeterminate assertions against all defendants.” Id. (quoting SD3,


                                                 1
Case 6:24-cv-00437-JDK          Document 66        Filed 03/17/25      Page 6 of 15 PageID #: 526




 801 F.3d at 422) (internal quotation marks omitted and alterations accepted); see also, e.g., In re

 Travel Agent Comm’n Antitrust Litig., 583 F.3d 896, 905 (6th Cir. 2009) (similar). Where a

 complaint “fails to allege particular facts against a particular defendant, then the defendant must

 be dismissed.” SD3, 801 F.3d at 422.

        Plaintiffs have not satisfied these basic pleading standards as to Vanguard. Plaintiffs assert

 in conclusory terms that “Defendants” entered into a conspiratorial agreement “to set and enforce

 output restrictions on coal” (AC ¶116), but they fail to plead facts sufficient to implicate Vanguard

 in any such conspiracy.

        A.      The Complaint pleads facts inconsistent with Vanguard’s participation in the
                alleged conspiracy.

        Plaintiffs have not attempted to plead facts “directly showing” Vanguard’s participation in

 the alleged conspiracy. In re Online Travel Company (OTC) Hotel Booking Antitrust Litig., 997

 F. Supp. 2d 526, 534 (N.D. Tex. 2014). Instead, they try to piece together a plausible inference of

 conspiracy from allegations that Vanguard and the other Defendants engaged in “suspicious or

 suggestive” parallel conduct that “would probably not result ‘absent an agreement.’” Id. at 536–

 37. But all of the conduct the Complaint attributes to Vanguard is far more divergent than parallel,

 and many of the allegations affirmatively undermine any inference that Vanguard participated in

 the alleged conspiracy. See, e.g., Mosaic Health Inc. v. Sanofi-Aventis U.S. LLC, 714 F. Supp. 3d

 209, 220 (W.D.N.Y. 2024) (dismissing conspiracy claim “where the alleged conspirators engaged

 in divergent conduct”).

        First, Plaintiffs fail to plead a single instance in which Vanguard ever cast a proxy vote

 contrary to the recommendations of coal company management. Defendants supposedly carried

 out the alleged conspiracy by using proxy votes to “coerce,” “discipline,” “threaten,” “influence,”




                                                  2
Case 6:24-cv-00437-JDK          Document 66        Filed 03/17/25       Page 7 of 15 PageID #: 527




 and “pressure” coal company management into doing their bidding.1 As to Vanguard, however,

 the Complaint is bereft of any factual allegations that support those conclusory assertions: the

 Complaint fails to identify any instance in which Vanguard ever voted against coal company

 management or a coal company director.

        The conspicuous absence of any such allegations is no accident. The same judicially

 noticeable SEC records that Plaintiffs cite in their Complaint confirm that Vanguard voted with

 coal company management on all of the proxy votes discussed in the Complaint, including in those

 instances in which another Defendant voted against management.2 Vanguard’s unbroken record

 of voting with coal company management regardless of how other Defendants voted cannot be

 reconciled with the suggestion that it conspired with the other Defendants “to use the shares they

 have acquired in the Coal Companies to coerce those companies to implement and adhere to a

 scheme of coordinated output reductions.” (AC ¶ 255.)



 1
   E.g., AC ¶ 5 (Defendants allegedly exerted “pressure” through “proxy voting”); ¶ 6 (Defendants
 allegedly “leveraged their … voting of shares to facilitate an output reduction scheme”); ¶ 95
 (Defendants allegedly asserted “influence” by “actively voting for changes in management”);
 ¶ 178 (alleging that unidentified parties “used the proxy voting system to … ask companies to
 shutter or divest their coal assets”); ¶ 221 (“voting on directors is the primary mechanism” an asset
 manager has “to force companies to act”); ¶ 225 (“voting of shares” allegedly “reduc[ed] coal
 production”), ¶ 256 (Defendants “have voted their shares both to coerce compliance with their
 demands and to threaten removal of management”).
 2
    Plaintiffs rely on SEC records available on the SEC website to identify votes by the other
 Defendants. (E.g., AC ¶¶ 165, 205(b), 212 nn. 117, 166, 181.) Those same SEC records confirm
 that Vanguard voted with coal company management throughout the relevant period. See Exs. 1–
 3 (extract from 2021–23 Vanguard Proxy Voting Records, EDGAR Database); see also Joint Brief
 at 6. This Court may take judicial notice of these government records, especially as they are
 incorporated by reference into the Complaint. See Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d
 453, 457 (5th Cir. 2005) (taking judicial notice of records from government website); Collin v.
 Morgan Stanley Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000) (judicial notice appropriate for
 materials “referred to in the plaintiff’s complaint and … central to [plaintiff’s] claim”); Coleman
 v. Drake, 409 F.3d 665, 667 (5th Cir. 2005) (district court entitled to take judicial notice of website
 where plaintiff “relied on the same website”); Walker v. Collier, 2018 WL 11463054, at *3 (E.D.
 Tex. 2018) (“The Fifth Circuit has determined that courts may take judicial notice of governmental
 websites.” (quoting Hyder v. Quarterman, 2007 WL 4300446, at *3 (S.D. Tex. 2007))).


                                                   3
Case 6:24-cv-00437-JDK          Document 66        Filed 03/17/25      Page 8 of 15 PageID #: 528




        Second, Vanguard also acted inconsistently with the other Defendants with respect to the

 two climate organizations discussed in the Complaint—Climate Action 100+ and the Net Zero

 Asset Managers Initiative (“NZAM”). Plaintiffs assert that Climate Action 100+ was the “hub” of

 the purported “output reduction cartel” (AC ¶ 125), but Vanguard never joined that organization.

 (Id. ¶¶ 116, 126.) And as to NZAM, Plaintiffs allege that Vanguard joined in 2021 and then

 promptly withdrew in 2022. (Id. ¶¶ 129, 151.)

        Furthermore, even in the brief period when Vanguard belonged to NZAM, its membership

 made no difference to its conduct. According to the NZAM disclosure document cited and quoted

 in Plaintiffs’ Complaint (AC ¶ 142 & n.81), Vanguard expressly disclosed that the vast majority of

 its assets under management are invested in index funds that “cannot be committed to net zero

 targets” absent a government mandate. (Ex. 4 at 3.) It further emphasized that “maximiz[ing]

 returns for the investors in our products is our central objective.” (Id. at 2). Vanguard thus

 announced that a mere 4% of total assets under management could be managed “in a net zero-

 aligned manner,” with those assets consisting solely of assets invested in funds that either had “net

 zero commitments as part of the product design” or had a preexisting investment philosophy of

 “consider[ing] climate risk” as a means of “deliver[ing] long-term shareholder value.” (Id. at 2,

 3). This Court can and should “take notice of the full contents” of the documents selectively quoted

 in Plaintiffs’ Complaint. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 568 n.13 (2007).

        Third, the Complaint never identifies any Vanguard conduct that allegedly resulted in

 reduced coal production. Plaintiffs devote an entire section of their Complaint to an attempt to

 catalog Defendants’ purported “Actions to Enforce the Carbon Output Restrictions.” (AC ¶¶ 167–

 181.) But the Vanguard chapter of that section is an empty void: it fails to identify any actual

 threats, votes, or other coercive conduct that allegedly “enforced” the purported output restrictions.




                                                   4
Case 6:24-cv-00437-JDK          Document 66       Filed 03/17/25      Page 9 of 15 PageID #: 529




 All this section alleges as to Vanguard is that at one point it made a general announcement—not

 specific to coal companies—that it would “likely” support shareholder disclosure proposals that

 “require disclosure pursuant to frameworks endorsed by Vanguard’s Investment Stewardship

 program.” (Id. ¶ 180.) That vague allegation of possible support for some sort of disclosure

 framework is no substitute for concrete factual allegations that Vanguard coerced coal companies

 to cut production. The striking absence of any such allegations leaves Plaintiffs unable to state a

 Section 1 claim against Vanguard. See, e.g., In re Int. Rate Swaps Antitrust Litig., 261 F. Supp. 3d

 430, 483 (S.D.N.Y. 2017) (dismissing defendant not alleged to have “d[one] anything specific to

 further the conspiracy”).

        B.      Plaintiffs’ remaining allegations do not salvage their claim against Vanguard.

        All of the Vanguard conduct discussed above tends to refute rather than support Plaintiffs’

 suggestion that Vanguard conspired with the other Defendants to “coerce [coal] companies to

 reduce their collective output of coal.” (AC ¶ 256.) Nor does any of the Vanguard conduct

 discussed in Plaintiffs’ remaining allegations raise a plausible inference that Vanguard participated

 in the alleged conspiracy. When Plaintiffs’ conclusory rhetoric is stripped away, their remaining

 allegations assert only that Vanguard (i) met with four of the nine coal companies at issue, and

 (ii) made a handful of unilateral, public statements regarding governance and climate issues. These

 allegations raise no inference of conspiracy because the alleged conduct is “not only compatible

 with, but indeed [is] more likely explained by, lawful, unchoreographed free-market behavior.”

 Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009); accord, Twombly, 550 U.S. at 557 (no inference of

 conspiracy from “parallel conduct that could just as well be independent action”); In re OTC, 997

 F. Supp. 2d at 537 (no inference of conspiracy from “parallel adoption of similar business

 strategies” that are consistent with “common economic experience”).




                                                  5
Case 6:24-cv-00437-JDK        Document 66        Filed 03/17/25      Page 10 of 15 PageID #: 530




        Meetings with coal companies. Plaintiffs allege that from 2021 to 2023, Vanguard had a

 total of four meetings with U.S. coal companies in which Vanguard funds were invested. (AC

 ¶¶ 157–158, 160.) But meeting with companies in which Vanguard funds were invested was “only

 natural anyway,” Twombly, 550 U.S. at 566, and “made perfect economic sense,” In re OTC, 997

 F. Supp. 2d at 537. Indeed, the Vanguard annual report that Plaintiffs used to identify these

 meetings reveals that Vanguard had more than a thousand meetings with a wide variety of portfolio

 companies in 2021 alone. (Ex. 5 at 2.)

        Plaintiffs provide no description of what happened at the four meetings with coal

 companies, and they rightly refrain from alleging that Vanguard used those meetings to coerce the

 companies to cut production. Nor could any such allegation responsibly be made, since coal output

 did not decline following the meetings. Plaintiffs’ own tables confirm that the two coal companies

 that met with Vanguard in 2021 (Arch and Vistra) collectively increased production by a total of

 12.2 million tons in 2021 and 2022, that the company that met with Vanguard in 2022 (CONSOL)

 increased production by 0.1 million tons in 2022, and that the company that met with Vanguard in

 2023 (Alpha) exited the coal markets at least a year before the meeting. (AC ¶ 240 & tbl. 6; id.

 ¶¶ 228–29 & tbl. 5 (no Alpha coal production as of 2021).)3

        Public statements about governance and climate issues. Plaintiffs cite several Vanguard

 public statements about corporate governance and climate issues, but the full text of those

 statements belies the suggestion that Vanguard was telling coal companies how to run their

 businesses, much less coercing them to cut coal output. For example, Plaintiffs cite a 2015 public

 statement for the proposition that Vanguard does not have “a passive attitude with respect to


 3
   Plaintiffs also allege that Vanguard met with three foreign coal companies (AC ¶¶ 157–58), but
 those foreign companies are subject to foreign regulatory regimes and do not participate in the coal
 markets alleged in the Complaint.


                                                  6
Case 6:24-cv-00437-JDK         Document 66       Filed 03/17/25      Page 11 of 15 PageID #: 531




 corporate governance” (AC ¶ 155), but that statement was plainly unilateral—not conspiratorial—

 since it was published six full years before a conspiracy allegedly started in 2021 (AC ¶ 255).

 Moreover, the cited statement confirms that Vanguard engages with portfolio companies only on

 issues of “good governance” and “ha[s] no interest in telling companies how to run their

 businesses.” (Ex. 6 at 1.) The “full contents” of the cited document thus refute any suggestion

 that Vanguard dictates portfolio company strategy. See Twombly, 550 U.S. at 568 n.13.

         Plaintiffs fare no better with their allegations that Vanguard sought “clear disclosures” of

 potential climate-related risks to coal companies “to allow the market to accurately price

 securities.”   (AC ¶¶ 139–40.)     These statements raise no inference of conspiracy because

 investment advisors have obvious unilateral reasons—reinforced by SEC regulations—to seek

 disclosures regarding potential business risks. See 17 C.F.R. § 229.105 (requiring disclosure of

 “material factors that make an investment in the registrant or offering speculative or risky”).

 Plaintiffs themselves highlight the unilateral reasons to monitor exposure to climate risks when

 they suggest that investment advisors that ignored climate concerns risked losing so many clients

 that they could lose “billions of dollars in … revenue.” (AC ¶ 204.)

         Unable to identify any Vanguard statements that raise an inference of conspiracy, Plaintiffs

 resort to outright mischaracterization. They assert that a Vanguard “Stewardship Insights”

 document reflects “Vanguard’s strategy of ‘asking companies to shutter or divest their coal assets’”

 (AC ¶ 150, emphasis added), but that allegation is a flagrant misrepresentation of the document.

 Far from suggesting that Vanguard had any such strategy, the document states that “activist groups

 and shareholder proponents”—not Vanguard—have “ask[ed] companies to shutter or divest their

 coal assets.” (Ex. 7 at 1.) The letter goes on to emphasize Vanguard’s disagreement with such

 shareholder proposals, stating that if companies “were to curtail their coal use dramatically and




                                                  7
Case 6:24-cv-00437-JDK         Document 66        Filed 03/17/25      Page 12 of 15 PageID #: 532




 suddenly, as some shareholder proposals advocate, it could cause significant social and economic

 disruption and adverse impacts.” (Id.)

        In sum, none of the allegations directed at Vanguard raise a plausible inference of

 conspiracy because all of the conduct attributed to Vanguard is “at least as consistent with

 permissible competition, and with independent action, as with unlawful conspiracy.” Golden

 Bridge Tech., Inc. v. Motorola, Inc., 547 F.3d 266, 273 (5th Cir. 2008).

 II.    Plaintiffs Fail To State A Claim Against Vanguard Under Clayton Act § 7.

        The Clayton Act Section 7 claim against Vanguard should be dismissed because Plaintiffs

 fail to allege that Vanguard “use[d]” its shares in coal companies to suppress coal output. See 15

 U.S.C. § 18. Section 7 states that it “shall not apply to persons purchasing such stock solely for

 investment and not using the same by voting or otherwise to bring about, or in attempting to bring

 about, the substantial lessening of competition.” Id. (emphasis added). Plaintiffs thus recognize

 that, to state a Section 7 claim against Vanguard, they must plead facts showing that it affirmatively

 “use[d]” its shares in a manner that lessened competition among the coal companies. See AC

 ¶ 113; see also United States v. Tracinda Inv. Corp., 477 F. Supp. 1093, 1098–99 (C.D. Cal. 1979)

 (defendant must “us[e]” shares to “lessen competition”).

        Plaintiffs have not even attempted to allege any instance in which Vanguard “used” its

 shares to suppress coal production or otherwise lessen competition in the coal markets. They do

 not allege that Vanguard cast proxy votes that reduced coal production—rather, as noted above,

 Vanguard voted with coal company management on each and every vote discussed in the

 Complaint. Supra at I.A. Nor do they identify any meeting or other interaction between Vanguard

 and a coal company that allegedly caused that company to reduce production. Supra at I.B.

 Plaintiffs thus fail to plead any occasion on which Vanguard “use[d]” its shares “by voting or

 otherwise” to reduce competition in the coal markets. 15 U.S.C. § 18.


                                                   8
Case 6:24-cv-00437-JDK         Document 66         Filed 03/17/25         Page 13 of 15 PageID #: 533




        The Section 7 claim against Vanguard independently fails because Section 7 applies only

 to “acquisition[s]” of shares that threaten competition, see 15 U.S.C. § 18, and there are no well-

 pled allegations that Vanguard’s acquisition of shares in coal companies during the relevant period

 (2020 to 2024) threatens competition in the coal markets. To the contrary, for several of the

 companies at issue, Vanguard held only a small number of shares;4 for others it is not alleged to

 have acquired more shares from 2020 to 2024 (AC ¶ 20, ¶ 30 (NACCO), ¶ 42 (Vistra)); and for

 yet others, Plaintiffs allege that coal output increased after Vanguard acquired shares.5 Nowhere

 in the Complaint is there any non-conclusory allegation that Vanguard’s acquisition of shares

 during the relevant period caused a coal company to cut production. That is fatal. See Malaney v.

 UAL Corp., 2010 WL 3790296, at *5 (N.D. Cal. 2010), aff’d, 434 F. App’x 620 (9th Cir. 2011)

 (Section 7 only violated where acquisition is “reasonably likely to cause anticompetitive effects”).

 III.   The Complaint Fails To Allege Any Other Viable Claim Against Vanguard

        Plaintiffs also assert that Vanguard conspired to exchange information with the other

 Defendants (Count III), violated state antitrust laws (Counts IV–XIV), and violated the Louisiana

 Unfair Trade Practices Act (Count XVIII). These claims fail against Vanguard for the reasons set

 forth in Defendants’ joint brief and for the additional reason that Plaintiffs fail to plead enough

 facts about Vanguard to state a plausible claim for relief against it.

                                           CONCLUSION

        For the reasons set forth above, the Court should dismiss all claims against Vanguard.


 4
  AC ¶ 20 (as of 2024, Vanguard funds had less than a 10% aggregate ownership share in NACCO,
 CONSOL, Alpha, and Hallador, and less than a 13% share in any coal company).
 5
   Compare, e.g., AC ¶¶ 26, 34, 38, 46, with id. ¶ 240 (Vanguard acquired shares in Arch, CONSOL,
 Alpha, and Hallidor, each of which increased production, by a collective 24.2 million tons). For
 the three remaining companies, Peabody production was approximately flat from 2020 to 2022,
 declining by less than 3% (AC ¶ 240 & tbl. 6); no production information is alleged as to Black
 Hills (id.); and Warrior Met does not participate in the alleged relevant markets (id. ¶ 105 n.37).


                                                   9
Case 6:24-cv-00437-JDK   Document 66     Filed 03/17/25     Page 14 of 15 PageID #: 534




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                                         10
Case 6:24-cv-00437-JDK       Document 66       Filed 03/17/25      Page 15 of 15 PageID #: 535




                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically and served on all counsel of

 record by the Court’s CM/ECF system on March 17, 2025.



       Dated: March 17, 2025                 /s/ Robert D. Wick

                                             Robert D. Wick
